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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________

AMERICAN FEDERATION                 )     Case No. 1:24-cv-2460-TSC
OF TEACHERS                         )
555 New Jersey Ave. NW              )
Washington, D.C. 20001              )
                                    )
                     Plaintiff,     )
                                    )
       v.                           )
                                    )
THE HIGHER EDUCATION LOAN           )
AUTHORITY OF THE STATE OF           )
MISSOURI                            )
633 Spirit Dr.                      )
Chesterfield, MO 63005              )
                                    )
                     Defendant.     )
______________________________________________________________________________

                                 APPEARANCE OF COUNSEL


To: The Clerk and all parties of record:

          I have been admitted pro hac vice to practice in this Court, and I appear as counsel for

Defendant The Higher Education Loan Authority of the State of Missouri (“MOHELA”) in this

matter.



          August 30, 2024                             Respectfully Submitted,

                                                      /s/ Daniel J. Feith
                                                      Daniel J. Feith (D.C. Bar No. 1028433)
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